Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 1 of 151




                  EXHIBIT L
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 2 of 151
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 3 of 151




                                            SUMMARY


       The Complaint is a mere compilation of unfounded allegations and innuendo that bears

no relationship to either controlling law or applicable facts. It provides no basis to deny or

otherwise question grant of the Licenses. It is also procedurally defective on a number of

grounds. As such, the Bureau should dispose of the Complaint and grant the Application.

       Procedurally, the Complaint lacks the specificity of fact required by Section 309 of the

Act and Section 1.1208 of the Rules. It is also woefully late and includes no showing that the

Relator has standing or is otherwise a party in interest.

       Substantively, each of Relator’s charges is wholly lacking in merit. As demonstrated

herein, all Organizational Documents were provided to, reviewed by and ultimately approved by

the Bureau to the extent necessary for License grant. Each of the Limited Partnerships has

complied fully with the terms of the Organizational Documents.

       Allison Cryor DiNardo’s credentials to control the Limited Partnerships are impeccable

and unimpeachable. She holds an MBA from the Darden Graduate School of Business, where

she was inducted into the prestigious Raven Society as a reflection of her academic excellence.

After graduation, Ms. DiNardo held a number of important management positions, first in non-

telecommunications areas, and later in wireless matters. Many of her wireless activities involved

TDS/USCC and helped create a mutual respect that carried over to her controlling role with the

Limited Partnerships.

       Ms. DiNardo has invested more than $300,000 in the Limited Partnerships. These funds

came from her savings and from family loans. None of the funds she invested came from


                                                - ii -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 4 of 151




TDS/USCC or any affiliate. None of the loans used to fund her investments have been repaid

with funds from TDS/USCC. Nor are there any plans for repayment, other than those set forth in

the Organizational Documents approved by the Bureau.

       Ms. DiNardo controlled all aspects of the auction process, from pre-auction research

through market selection and actual bidding up to payment of monies to the Commission. She

also continued to control each of the Limited Partnerships after the close of the auctions. She set

up office space for the Limited Partnerships, was intimately involved in the prosecution and

amendment of the various applications, established budgets, made capital calls, and organized

and controlled partnership meetings. She leased certain spectrum to third parties and undertook

several pre-construction activities, including spectrum clearing and market build design. She has

also advocated for the partnerships before the Commission and the Third Circuit and selected

and oversaw the Limited Partnerships’ accountants.

       The Relator’s claim that Ms. DiNardo’s Limited Partner has acknowledged in separate

filings mandated by the SEC that it somehow controls the partnerships is misleading and

inaccurate. The standard for control at the FCC is very different in nature than the control

standards applied by the SEC. The SEC requirements reflect the very conservative requirements

of a complex accounting standard designed to protect investors in publicly-traded entities.

       For all of the foregoing reasons, the Bureau should promptly grant the Application.




                                               - iii -
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 5 of 151




                                                  TABLE OF CONTENTS




SUMMARY             .............................................................................................................................. ii

TABLE OF CONTENTS                        ...................................................................................................... iv

I.      INTRODUCTION AND OVERVIEW ........................................................................... 2

II.     ARGUMENT ..................................................................................................................... 2

A.      THE COMPLAINT IS PROCEDURALLY DEFECTIVE INSOFAR AS THE COMMISSION’S
        ADMINISTRATIVE CONSIDERATION IS CONCERNED ......................................................... 2

B.      THERE IS NOTHING IN THE COMPLAINT THAT WARRANTS DELAY OF GRANT OF THE
        APPLICATION ...................................................................................................................... 3
        1.    All of the Organization and Capitalization Documents of Each of the Limited
              Partnerships have Been Candidly Shared With, Negotiated with, and Signed Off
              by Commission Staff, and Demonstrate Complete Compliance With All Applicable
              Commission Rules. .................................................................................................. 4
        2.         Ms. DiNardo is Fully Qualified to Manage and Operate the General Partner and
                   Has at all Times Controlled Partnership Operations ............................................. 6
        3.         Ms. DiNardo Controlled All Auction Activities for the Limited Partnerships...... 11
        4.         Relator's Grumblings Regarding Proximity of Licenses Bid Upon By the Limited
                   Partnerships and Those Held By Their Limited Partner are Factually Inaccurate,
                   Ingore Business Realities, and Present No Bona Fide Issues Regarding Control 16
        5.         Ms. DiNardo Has at All Times Controlled the Limited Partnership and Handled
                   All Daily and Long-Term Partnership Decisions. ................................................ 17
        6.         Relator’s Claim That the Limited Partner’s Debt Should Be Treated As Equity is
                   Absurd ................................................................................................................... 24
        7.         The Complaint’s Distortions of the Statements in TDS/USCC’s Public SEC
                   Filings Do Not Undermine Ms. DiNardo’s De Facto Control of each of the
                   Limited Partnerships............................................................................................. 24

III.    CONCLUSION AND RELIEF REQUESTED ............................................................ 29




                                                                   - iv -
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 6 of 151




                                     BEFORE THE
                          FEDERAL COMMUNICATIONS COMMISSION
                                 WASHINGTON, D.C. 20554

In re: Applications of                                          )
                                                                )
                                                                )
King Street Wireless, L.P.                                      )
                                                                )   File No. 0003379814
                                                                )
For licenses in the 700 MHz Lower Band                          )



                             RESPONSE TO INQUIRY FROM THE
                         WIRELESS TELECOMMUNICATIONS BUREAU


         At the invitation of the Chief, Mobility Division, Wireless Telecommunications Bureau

(“Bureau”) to provide a “written response and any supporting documentation that you deem

pertinent in responding to the allegations included in the First Amended Complaint”

(“Complaint”) as identified in the Bureau letter to counsel for King Street dated April 14, 2009

(DA 09-822),1 King Street Wireless, L.P. (“King Street”)2 submits the following response:


1
  The United States District Court for the District of Columbia permitted partial disclosure and release of the
Complaint so that it might be used “in connection with the Commission’s administrative consideration of the
applications for licenses.” See Order United States of America, ex rel. v Carroll Wireless, L.P., et al, attached to the
Bureau’s letter of April 14, 2009.
2
  King Street, the participant in Auction 73, is a limited partnership whose sole general partner, King Street
Wireless, Inc. is wholly-owned by Ms. DiNardo. The sole limited partner of King Street is USCC Wireless
Investment, Inc. (“USCCWI” or “Limited Partner”), a wholly-owned subsidiary of United States Cellular
Corporation (“USCC”), which itself is owned approximately 80% by Telephone and Data Systems, Inc. (“TDS” and
together with USCC, “USCC/TDS”). The Complaint makes identical and equally meritless allegations about
Carroll Wireless, L.P. (“Carroll”) and Barat Wireless, L.P. (“Barat”), licensees of spectrum awarded in Auction Nos.
58 and 66, respectively. Ms. DiNardo also is the sole shareholder of the sole general partner (Carroll PCS, Inc., and
Barat Wireless, Inc., respectively) of both of these licensees; USCCWI also is the sole limited partner of both
Carroll and Barat (collectively and with King Street the “Limited Partnerships”).




                                                         -1-
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 7 of 151




I.       INTRODUCTION AND OVERVIEW

         The Complaint is nothing more than a compilation of unfounded allegations and

innuendo that bear no relationship to either controlling law or applicable facts. As such, it

provides no basis to deny or otherwise question the grant of the subject licenses (the “Licenses”)

to King Street. Accordingly, King Street urges that the Commission staff promptly reject the

Complaint with regard to any administrative consideration of the Licenses by the Commission,

and promptly grant this application (the “Application”).

II.      ARGUMENT

A.       The Complaint is Procedurally Defective Insofar as the Commission’s
         Administrative Consideration Is Concerned

         The Complaint is procedurally defective with respect to administrative consideration,

regardless of whether it is considered a petition to deny or an informal request for Commission

action. The Complaint fails to meet the most basic evidentiary standard mandated by Congress

and confirmed by the Commission: specific allegations of fact supported by a sworn statement of

a person or persons with personal knowledge thereof.3 47 U.S.C. § 309(d); 47 C.F.R.

§§ 1.2108(b). The Complaint fails to provide any evidentiary facts that support Relator’s


3
 Even though the Relator in the Complaint did not submit it to the Commission, this requirement is far more than a
formality. Under the two-step analysis for petitions to deny required by Section 309(d) and case precedent, any
petitioner must do more than make summary conclusions of law; the petitioner must first establish a prima facie
case that a grant of the application would be inconsistent with the public interest based on “concrete factual
assertions” supported by sworn testimony from persons with first-hand knowledge, and then show that the “totality
of the evidence” presents a substantial and material question of fact requiring an evidentiary hearing for resolution.
See Gencom v. FCC, 832 F.2d 171 (D.C. Cir. 1987); Astroline Communications Co. Ltd. Partnership v. FCC, 857
F.2d 1556 (D.C. Cir. 1988); see also Minnesota PCS Limited Partnership, 17 FCC Rcd. 126, 132 (CWD 2002);
Continental Satellite Corp., 10 FCC Rcd. 10473 (IB 1995); Julie P. Miner, 52 F.C.C.2d 684 (Rev. Bd. 1975); Guy S.
Erway, 40 F.C.C.2d 956 (Rev. Bd. 1973) (allegations based solely on speculation and surmise do not meet the
specificity requirements of the Commission’s rules for designation of an issue with respect to an application).




                                                        -2-
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 8 of 151




arguments, and includes no sworn supporting statement. As released, it fails to even identify the

filer, i.e., the Relator.4

         The Complaint fares no better if viewed as an informal objection pursuant to Section 1.41

of Title 47 of the Code of Federal Regulations (the “Rules”) because such objections may be

filed only where no formal filing procedures exist. 47 C.F.R. § 1.41. Here, Section 309(d) of the

Act and Section 1.2108 of the Rules applies, thus obviating any right to file informal objections

in this proceeding. The Commission should not ignore its rules and treat the Complaint as a

formal petition or informal request for Commission action simply because it desires to do so.

See Reuters Limited v FCC, 781 F.2d 946, 950-51 (D.C. Cir. 1986).5

B.       There is Nothing in the Complaint that Warrants Delay of Grant of the Application

         The primary allegations of Relator are addressed below. Its other allegations, which are

immaterial, are not addressed in any detail because they do not warrant the Commission’s

attention.6

4
 There are numerous other procedural defects. For instance, there is no demonstration of standing, which makes it
impossible for King Street to assess, and possibly impeach, the credibility of the Relator. It is also late-filed,
without explanation. King Street’s long-form FCC Form 601 application was placed on public notice on April 22,
2008, and petitions to deny were due to be filed on or before May 2, 2008. See 47 C.F.R. § 1.2108(b); Report No.
AUC-73, DA 08-927, at 1-2.
5
 There, Judge Starr explained the obvious: that ad hoc deviations from established rules cannot be sanctioned
without setting “the seeds of destruction of the orderliness and predictability which are the hallmarks of
administrative action.”
6
  Three of the more immaterial allegations are (a) the timing of the Limited Partnerships’ lease for the corporate
offices; (b) the late filing of certain corporate documents; and (c) the timing of certain initial corporate
documentation. With respect to the office lease, there is no significance to the fact that the terms of the office lease
were formally agreed upon after initial filings, and that the earliest office address reported to the Commission was
also Ms. DiNardo’s home address. Similarly, the fact that one or two ministerial corporate documents were filed
late has no discernible significance. Notably, both of these very minor matters were promptly corrected. The
Limited Partnerships and their partnership entities were formalized in a timely manner immediately after the final
decision permitting them to participate in the auctions was rendered.



                                                          -3-
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 9 of 151




1.       All of the Organization and Capitalization Documents of Each of the Limited
         Partnerships Have Been Openly Shared, Negotiated, and Signed Off by Commission
         Staff, and Demonstrate Complete Compliance with All Applicable Commission
         Rules.

         Relator’s initial argument is that the very organization and capitalization provisions for

each of the Limited Partnerships were not known and understood by the Commission, or

somehow raise current questions regarding control.7 Complaint, ¶ 48. There are multiple

problems with that argument.

         As is Relator’s pattern throughout the Complaint, it has its basic facts wrong. The

pertinent facts involving the Limited Partnerships’ organization or capitalization arrangement

were not “disguised” or somehow “not disclosed” to the Commission. To the contrary, the

Organizational Documents were all submitted to Commission staff for review, were subjected to

extensive review by the Commission staff, were renegotiated between Commission staff and

King Street and were ultimately approved by the Commission staff to the extent necessary to

permit license grants in the case of Carroll, Barat, and (soon we expect) King Street.8

         Relator’s purported understanding of the facts involving capitalization and distributions is

equally errant. Contrary to Relator’s assertion, TDS/USCC has not “provided all of the hundreds


7
  The documents that the Commission reviewed for each or most of the Limited Partnerships include: the Agreement
Establishing the Partnership; the Loan Agreement; the Loan and Security Agreement; the Investment Agreement;
the Management Agreement; the Pledge Agreements; Promissory Notes; and the Bidding Protocol, with
Amendments (collectively, the “Organizational Documents”).
8
  In granting the applications, the Commission staff considered the totality of information provided to them. One
important factor likely considered was the limited partnership character of the applicants. In this regard, and unlike
other organizational structures that other applicants employed, the limited partnership structure provided an extra
level of protection. Under black letter partnership law principles, a limited partner cannot control or manage the
operations of the limited partnership. It is the general partner who has the authority and obligation to assume those
responsibilities.




                                                         -4-
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 10 of 151




of millions of dollars necessary for the Commission Applicants’ upfront payments and net

winning bid payments.” Complaint, ¶ 74. Rather, consistent with the provisions of the

Organizational Documents, Ms. DiNardo and the Limited Partner were responsible for

contributing, in aggregate, equity of 20% of funding needs, with the remainder being debt

funding, provided that the Limited Partner agreed to loan the general partner certain levels of

funds in the event that its contribution obligations exceed the initial equity contribution.

Significantly, in King Street, as it is in each of the Limited Partnerships, Ms. DiNardo’s initial

equity contribution was at least $100,000.00. The initial equity contributions from Ms. DiNardo

to each of the entities came from Ms. DiNardo and her husband, an analyst with the Federal

Bureau of Investigation. Some of the funds were borrowed by them from family members, but

no part of any contribution came from the Limited Partner or any of its affiliates. Equally

significant, no part of Ms. DiNardo’s initial contributions has been repaid to her, in any manner,

by the Limited Partner or any of its affiliates and there are no plans for such repayment (except

as set forth in the Organizational Documents that were approved by Commission staff.)

         Relator’s arguments are also at odds with applicable law and the core policy underlying

the Commission’s designated entity (“DE”) program. Concerning equity investments, the

Commission is clear that under applicable rules there is no minimum amount of equity that the

controlling interests must hold.9 That is, of course, one reason why the Commission staff was


9
 Amendment of Part 1 of the Commission’s Rules – Competitive Bidding Procedures, WT Docket No. 97-82,
Order on Reconsideration of the Third Report and Order, Fifth Report and Order, and Fourth Further Notice of
Proposed Rulemaking, 15 FCC Rcd. 15,293, ¶¶ 65-66 (2000). See Implementation of Commercial Spectrum
Enhancement Act and Modernization of the Commission’s Competitive Bidding Rules and Procedures, 21 FCC Rcd.
4753 (2006); Applications of Alaska Native Wireless, L.L.C., 17 FCC Rcd. 4231 (WTB 2002) (confirming that non-
controlling interest of approximately 80% did not require conclusion that interest holder assumed control even in the



                                                        -5-
        Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 11 of 151




comfortable granting licenses to Carroll and Barat. Moreover, the Commission staff properly

considered and accepted the magnitude of the capital contributions made by Ms. DiNardo.

Indeed, the Commission staff’s only stated concern was that her initial capital contributions did

not come from the Limited Partner or a related entity. Each of the Limited Partnerships has

repeatedly confirmed to the Commission that the initial funding did not come from any such

source, and King Street hereby confirms that again.10 The Commission has correctly concluded

that the organizational structure and agreements of the Limited Partnerships do not adversely

impact their control by Ms. DiNardo, and as the facts demonstrate, she has not relinquished such

control.

2.         Ms. DiNardo Is Fully Qualified to Serve as General Partner

           With respect to Ms. DiNardo’s qualifications, Relator incorrectly and inconsistently

claims that, at the time that each of the Limited Partnerships was formed, Ms. DiNardo, on one

hand, was unqualified to serve, and on the other hand, had too much prior, directly applicable

experience with the Limited Partner to be independent. See Complaint, ¶¶ 65, 67. Relator

cannot have it both ways and is factually wrong on both counts, in any event.

           Ms. DiNardo’s credentials are impeccable. She graduated in 1988 from the Darden

Graduate School of Business at the University of Virginia, one of the Nation’s most prestigious

graduate business schools. There, she was inducted into the Raven Society in recognition of her


presence of rights held by limited liability member); Minnesota PCS Limited Partnership, 17 FCC Rcd. 126, 132
(CWD 2002) (confirming that non-controlling interest of approximately 85% did not require conclusion that interest
holder assumed control even in the presence of rights held by the limited partner).
10
     See Exhibit XXI the Declaration of Allison Cryor DiNardo attesting to facts set forth in this Response.




                                                          -6-
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 12 of 151




academic achievement and leadership. That experience provided her with a top flight business

education and foundation in addition to vital contacts that would help her throughout her career.

       After receiving her MBA, Ms. DiNardo worked as Deputy Associate Director for

Presidential Personnel in the White House. Subsequently, she created and oversaw a

$165,000,000 capital campaign at the University of Virginia in Charlottesville. In 1998, Ms.

DiNardo returned to Washington, D.C. to serve as Vice President for Development for Citizens

for a Sound Economy. There she managed a team of eight employees and an annual capital

campaign which raised $18,000,000 annually.

       One of the significant business contacts that Ms. DiNardo made while earning her MBA

was fellow student Mark Kington. Through her association with Mr. Kington, Ms. DiNardo

came to manage a family office, a multi-million dollar foundation and to oversee an active,

working commercial farm. Among other things, she was hired as President and Chief Operating

Officer of Kington Management Corporation (“Kington Management”) and was in charge of

hiring and managing staff, financial reporting, managing budgets, hiring and training accountants

and administrative staff and interfacing with tax professionals and legal counsel. Most

importantly, through her management of Kington Management, Ms. DiNardo became quite

familiar with the wireless industry.

       Ms. DiNardo’s association with Mr. Kington immersed her in the wireless business.

Starting in 2000, Ms. DiNardo managed the operations for the general partner and later entities

of Black Crow Wireless, L.P. (“Black Crow”), Eastern Shore Wireless Company, LLC (“Eastern

Shore”), Jackson Square Wireless, L.P. (“Jackson Square”), K-25 Wireless, L.P. (“K-25”), X-

10 Wireless, L.P. (“X-10”) and Y-12 Wireless, L.P. (“Y-12”). In these businesses, Ms. DiNardo

                                               -7-
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 13 of 151




oversaw system purchases, federal, state and local filings, market build-out, site leasing,

interconnection and backhaul arrangements and overall system management.

         Ms. DiNardo played a key role for Black Crow in Auction No. 35, conducted by the

Commission, commencing in 2000. She was directly involved in bidding strategy, market

selection, office acquisition, bidding mechanics and technology utilization and financial

management activities. Black Crow was the high bidder for seventeen licenses in Auction No.

35, but due to matters involving prior issuance of the licenses there at issue, it ended up holding

five licenses from Auction No. 35.

         At the conclusion of Auction No. 35, Ms. DiNardo worked with investment banks to

borrow some of the funds to pay for the licenses won by Black Crow. Her responsibilities

involved overseeing purchases and building out markets, including the review of tower site

leases, securing T-1 lines, and the oversight of the engineering bid process. In addition to her

responsibilities managing Black Crow, Ms. DiNardo was responsible for the management of

additional wireless properties controlled by Mark Kington, including wireless properties

acquired and operated by Jackson Square, K-25, X-10 and Y-12. For each of these DE licensees,

Mr. Kington’s corporations served as the general partner and USCCWI served as the limited

partner.11 Through her management of these wireless entities, Ms. DiNardo gained valuable

operational experience in the wireless industry. For example, Ms. DiNardo learned about the

11
   The issue of whether TDS/USCC had assumed de facto control of X-10, Y-12 and K-25 was placed directly
before the Commission in a “Petition for Investigation” of the assignment of licenses to those entities. Treating the
pleading as an untimely Petition to Deny, the Commission nevertheless also rejected it on the merits, finding that
despite an 85% equity investment in the limited partnerships by TDS/USCC, and governing documents similar to
those that govern the Limited Partnerships, Kington Management maintained de facto control of the entities. See
Minnesota PCS Limited Partnership, 17 FCC Rcd. 126, 132 (CWD 2002).



                                                        -8-
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 14 of 151




issues encountered in the rapid build-out of wireless operations with K-25, which purchased

wireless interests in Minnesota with less than three months left to meet Commission build-out

deadlines. In addition, Ms. DiNardo obtained direct operational experience associated with the

purchase by Y-12 of Amica Wireless, a wireless carrier with approximately 8,500 wireless

subscribers at the time of purchase. In connection with Y-12, Ms. DiNardo was involved in

arranging for the building of new cell sites, changing the cash management system of the

company, revamping customer service, training staff, reorganizing its four stores, and changing

senior management. Under her leadership, Y-12 experienced a 20% increase in its customer

base in highly competitive markets and an increase in net operating profits.

       Ms. DiNardo’s involvement in Black Crow, X-10, Y-12, K-25 and Eastern Shore

Wireless provided her with an opportunity to showcase her acumen and skills. Ms. DiNardo’s

performance in each of these businesses was stellar in every way. The businesses served the

public and demonstrated that the Commission’s fragile DE program could work. Additionally,

through the operation of these businesses, Ms. DiNardo and the entity that would become her

Limited Partner in King Street and the other Limited Partnerships developed a trusting and

respectful relationship. In short, Ms. DiNardo’s performance in these ventures formed the basis

for her general partnership role in the Limited Partnerships. Consequently, Relator’s charges of

some unspecified inappropriate business relationship border on the comical. This is especially so




                                               -9-
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 15 of 151




given that none of these business relationships carried with them any strings of any nature that

carried over to future dealings.12

         As a result of these experiences, Ms. DiNardo developed an interest in creating and

running her own company to develop and operate a wireless business. Thus, despite the

financial risks inherent in foregoing her position with Kington Management, including the loss of

considerable salary and the inherent risks in starting her own company, Ms. DiNardo opted to

pursue opportunities in the wireless industry through the DE program. In the fall of 2004, Ms.

DiNardo approached TDS/USCC about forming a joint venture to participate in Auction No.

58.13 Given her considerable prior experience with TDS/USCC, and her knowledge of their

operating styles, Ms. DiNardo believed that TDS/USCC would be a good partner in the wireless

business, and anticipated that the respect may well be reciprocal. She was familiar with the

employees at TDS/USCC at many different levels and was comfortable with their business

practices; in turn TDS/USCC had experience with her business style and operational expertise in

wireless businesses, as well as a familiarity with her ability to participate in Commission

auctions.




12
  Relator refuses to appreciate the difference between (a) the development of a strong, trusting business relationship
based upon earned respect and demonstrable achievement, as developed here, and (b) the existence of some
inappropriate tying relationship, as Relator speculates exist. This refusal is evidenced by the Relator's deceptive use
in the Complaint of the terms “identity of interest” and “material relationship,” which are defined in Section 1.2110
of the Commission’s rules, and in no way encompass the relationship between Ms. DiNardo and USCCWI, the
Limited Partner.
13
  Relator’s wholly speculative and unsupported theory that the formation was somehow “orchestrated” by Ms.
DiNardo’s Limited Partner is wildly inaccurate. Complaint, ¶ 59. Moreover, and to state the obvious, what matters
with respect to applicant eligibility is not the genesis of an applicant, but rather its organization and operation.




                                                        - 10 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 16 of 151




3.     Ms. DiNardo Controlled All Auction Activities for the Limited Partnerships.

       Relator asserts that Ms. DiNardo did not control auction activities, although it offers no

evidentiary facts to support its allegation. Complaint, ¶ 69. As set forth below, little could be

further from the truth.

       Ms. DiNardo controlled the auction process from start to finish. Before her participation

in each auction, Ms. DiNardo attended seminars sponsored by the Commission to review

procedures and forms that would be required for participation. She also participated in every

mock auction held for Auction Nos. 58, 66 and 73. In addition, she retained Rebecca Kilduff ,

CEO of the marketing and internet consulting firm of Madison Kilduff, to serve as her alternate

bidder, who also participated in the mock auctions.

       In planning for Carroll’s formation and participation in Auction No. 58, Ms. DiNardo’s

strategy was informed predominantly by her prior experiences, and was not directed by

TDS/USCC. Ms. DiNardo was aware that there would be licenses available in Auction No. 58

that had been available and of interest to Black Crow in Auction No. 35, as a result of the

licenses involved in the NextWave litigation. In addition, Ms. DiNardo intended to avoid

bidding on very small markets that were in isolated regions, as a result of the difficulties she

encountered in formulating and executing a business plan for the operations of Eastern Shore,

located in Salisbury, Maryland, while working with Mr. Kington. Her intention was to purchase

spectrum beneficial to Carroll which offered several business opportunities for Carroll.

       Ms. DiNardo or her alternate participated personally and directly in every round of every

auction in which the Limited Partnerships bid; Ms. DiNardo controlled the process. The auction

process required each Limited Partnership, like any other bidder, to digest and analyze large

                                               - 11 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 17 of 151




quantities of information and to respond with new bids on an increasingly frequent basis. While

Ms. DiNardo controlled and led the bidding activity, TDS/USCC representatives participated in

the auctions in a supportive and collegial, but advisory role. Ms. DiNardo sought to bid on

markets that reflected her view of what was best for the Limited Partnership involved. While she

attempted to obtain consensus on her view, Ms. DiNardo had considerable discretion under the

Bidding Protocol Agreement in each auction to deploy the Limited Partnership’s capital, and she

alone had and exercised final decision making authority for each and every bid cast or not

cast. While in many instances the licenses acquired through the auctions complement the

markets served by TDS/USCC, they also serve the business interests of the Limited Partnership

involved and ultimately reflect primarily Ms. DiNardo’s business judgment, and not necessarily

the judgment that TDS/USCC would have exercised independently.

       All of the auctions in which the Limited Partnerships participated were massive,

complex, and often fast moving multi-week events during which billions of dollars were

committed to purchase thousands of licenses across the United States. This is demonstrated by

the following:

       •   Auction No. 58 commenced on November 30, 2004 with the filing of Form 175.
           Bidding commenced on January 26, 2005 and consisted of 91 bidding rounds over 15
           days. Auction No. 58 ended on March 7, 2005, the deadline for bidder’s submission
           of its downpayment. Thirty-five qualified bidders participated and 24 bidders won
           217 licenses with aggregate net bids of $2,043,230,450. Carroll won 16 licenses with
           aggregate net bids of $129,695,750.

       •    Auction No. 66 commenced on June 19, 2006 with the filing of Form 175. Bidding
           commenced on August 9, 2006 consisted of 161 rounds over 28 days. Auction No.
           66 ended on October 4, 2006, the deadline for bidder’s submission of its
           downpayment. One hundred and sixty-eight qualified bidders participated and 104
           bidders won 1087 licenses with aggregate net bids of $13,700,267,150. Barat won 17
           licenses with aggregate net bids of $127,140,000.

                                              - 12 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 18 of 151




        •   Auction 73 began on December 3, 2007 with the filing of Form 175. Bidding began
            on January 24, 2008 and consisted of 261 bidding rounds over 38 days. Auction No.
            73 ended on April 3, 2008, the deadline for bidder’s submission of its downpayment.
            Two hundred and fourteen qualified bidders participated and 101 bidders won 1090
            licenses with aggregate net bids of $18,957,582,150. King Street won 152 licenses
            with aggregate net bids of $300,479,000.

        Given the auctions’ size and complexity, the planning before each auction was extensive.

As noted above, Ms. DiNardo attended the pre-auction Commission seminars and participated in

the mock auction for each of the auctions. Each pre-auction seminar was conducted at the

Commission headquarters several months prior to each auction to introduce potential participants

to the auction rules and process. The bidding software was demonstrated and participants had

the opportunity to ask questions. The mock auction allowed bidders to familiarize themselves

with the bidding process and become comfortable with the rules and conduct of the auction.

        Before each auction, Ms. DiNardo established a bidding room in the Limited

Partnership’s office in Alexandria. TDS/USCC personnel detailed to her assisted in preparing

the office for the auction. TDS/USCC caucused in their conference room. Each site had

extensive computer facilities to process and analyze the information from each round of bidding

and to communicate to the other site. The site in Alexandria was the only one through which

bids were or could be entered, and in Auction 73 was also the only site to which bidder-specific

round results were available directly to the bidder. Ms. DiNardo had absolute control over that

site and the distribution of information at that site.

        The information received from the Commission was extensive and complex, which was

to be expected given the number of qualified bidders that participated and the number of licenses

that were available during the auctions. Processing this information required the development of

                                                 - 13 -
       Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 19 of 151




reporting tools that would gather and display relevant information. Ms. DiNardo was directly

and intimately involved in the planning before each auction; she personally designed and

directed a number of structures and changes to the bidding analyses and materials that she would

use to facilitate her bidding at the auction.

        Before each auction, a Bidding Protocol Agreement ( “Bidding Protocol”) was negotiated

between the general partner and the Limited Partner of each Limited Partnership. Each of the

Bidding Protocols (as well as any and all later amendments) was provided to the Commission

staff prior to the grant of the respective licenses to the Limited Partnerships for their winning

bids. Each Bidding Protocol specified a Bidding Council headed up by Ms. DiNardo, as

Manager, and a TDS/USCC representative, as the other member. Ms. DiNardo, the Manager

was authorized “at her discretion” to submit successively higher bids for any area designated in

the agreements as long as the bid did not exceed either the Maximum Price per Pop specified in

the Bidding Protocol or the Overall Bidding Cap. Thus, Ms. DiNardo had the absolute

discretion not to bid on any market in the Agreement, and she had absolute, unfettered

discretion to place any bid she chose as long as she did not exceed either the Maximum Price

per Pop or the Overall Bidding Cap.

        When each auction began, Ms. DiNardo was assisted at the Limited Partnerships’

Alexandria office by a TDS/USCC analyst and IT support person. Before each round of bidding,

Ms. DiNardo initiated a free flow discussion regarding the results of the prior round between the

participants in the Alexandria and Chicago sites. Then Ms. DiNardo decided how to bid and so

bid.



                                                - 14 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 20 of 151




       She had her own ideas concerning which markets would serve the Limited Partnerships’

interests as separate and apart from which markets would serve TDS/USCC’s interests. One

example is the Mississippi Valley REAG, which was acquired during Auction No. 66. Although

a small portion of this licensed territory abuts TDS/USCC’s spectrum in St. Louis, it also added

an extensive area to the southeast of St. Louis, including large parts of Mississippi and

Louisiana, including New Orleans. Most of the geographic area acquired through this license

was not currently served by TDS/USCC and was well beyond both its geographic footprint and

its immediate or foreseeable needs. This license was acquired because Ms. DiNardo believed

strongly that its acquisition could be made at a good price and that, over time, there was a

substantial opportunity to expand competitive service into this urban area.

       Another example of Ms. DiNardo’s control is the acquisition of the Greensboro,

Asheville and Hickory, North Carolina licenses in Auction No. 58. In Charlotte and Greensboro,

there is significant competition and building in these markets is expensive. Ms. DiNardo

believed, however, that these markets could be acquired at an attractive price and would

supplement the Charlotte license for which Carroll was already a high bidder at a low price, and

could prove to be valuable as a contiguous group over time. Despite some reservations held by

TDS/USCC’s representatives, Ms. DiNardo exercised her own prerogative to make winning bids

for these markets, despite some reservations on the part of the Limited Partner.

       In sum, throughout the auction process, Ms. DiNardo controlled the Limited Partnerships

by (1) fully participating and entering the bids; (2) personally assessing and interpreting the

results of every round; (3) forming a personal view and game plan for action in every successive

round of bidding, and bringing them to the bidding process; (4) asking for and altering the

                                               - 15 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 21 of 151




structure of supporting data, including tables and maps, used to assist in making successive bids;

(5) initiating contacts with TDS/USCC personnel about her game plan; and (6) making her

decision about the bids to be made in each round, even when they were not wholly consistent

with the views of some TDS/USCC staff.

4.     Relator’s Grumblings Regarding Proximity of Licenses Bid Upon By the Limited
       Partnerships and Those Held By Their Limited Partner are Factually Inaccurate,
       Ignore Business Realities, and Present No Bona Fide Issues Regarding Control

       According to Relator, the Limited Partnerships sought only markets overlapping or

adjacent to areas already licensed to their Limited Partner. The facts belie that claim. See, e.g.

discussions in Section 3, supra, providing instances where a Limited Partnership bid for and

acquired license areas of less regional interest to its Limited Partner.

       It is also important to understand that, even if Relator did have the facts right—and it

does not—an adjacency strategy with a major wireless player, as part of a larger overall bidding

strategy, makes good business sense and is entirely permissible. The most compelling business

reason is that each Limited Partnership would immediately acquire TDS/USCC as a potential

customer for a portion of its spectrum, fully consistent with Commission rules. There are other

unrelated business reasons for purchasing certain markets that Ms. DiNardo identified as in her

interest. First, overlapping and adjacent markets served by the Limited Partnership and by

TDS/USCC provide an opportunity for the parties to share switches and towers, thus reducing

the Limited Partnerships’ build-out costs. Second, having a license for a market close to

TDS/USCC’s territory presents the opportunity to offer customer equipment used by TDS/USCC

to partnership subscribers. This introduces economies of scale to reduce prices and to improve

the services to subscribers. Third, the Limited Partnerships have the opportunity to enter into

                                                - 16 -
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 22 of 151




management agreements with TDS/USCC more easily when their licenses are adjacent to

TDS/USCC territory. Such agreements are expressly permitted by the Commission, and offer

many benefits to DEs, especially when they are just beginning to build out their licenses. Where

such management agreements have been contemplated by the Limited Partnerships, the

management agreements have been drafted and provided to the Commission staff for review, and

effectively accepted by the staff to the extent necessary to permit the application grant. These

are some of the reasons why, since the inception of the Commission’s DE program, numerous

DEs have designed their markets to complement the licenses held by larger carriers.


5.       Ms. DiNardo Has at All Times Controlled the Limited Partnership and Handled All
         Daily and Long-Term Partnership Decisions.

         Relator next argues that “DiNardo has not handled daily and/or long-term business

decisions, management or operation of the licenses that were the subject of Auction Nos. 58, 66

and 73.” Complaint, ¶ 67. Like every other substantive allegation in the Complaint, this one is

wholly at odds with the facts and cannot be used to support the Relator’s summary conclusions

of law. To provide the Commission with an accurate factual accounting, below is a listing of

certain of the major activities and responsibilities that Ms. DiNardo has undertaken with respect

to the Limited Partnerships.14

14
   These activities are entirely consistent with the responsibilities and obligations of the general partner as set forth
in the Limited Partnership Agreement, which include the conducting of the business and affairs of the Limited
Partnerships on a day-to-day basis, including binding the Limited Partnerships, conducting their auction bidding
activity, purchasing or leasing equipment, selling or leasing or otherwise assigning its assets in the ordinary course,
borrowing funds, employing agents and independent contractors, negotiating and entering contracts, making
payments on behalf of the Limited Partnerships or otherwise managing its finances and arranging for the filing of all
necessary applications. Ms. DiNardo is also responsible for preparing budgets and financial statements and the
filing of tax returns.




                                                         - 17 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 23 of 151




   a. Prior to the advent of each of the auctions, Ms. DiNardo assessed the primary auction

parameters (markets, spectrum, number of licenses, etc.) and determined whether or not she

would participate. She selected counsel for the Limited Partnerships. She also familiarized

herself with the ever-changing technical and logistical rules for the auctions and participated in

Commission -sponsored mock auctions.

   b. Ms. DiNardo, with the assistance of her counsel, ran and controlled the application

process. She was directly involved in the filing of the short-form (Form 175) applications,

reviewing and approving each one prior to submission. She was equally involved in any minor

amendments to the applications that the staff requested. She also controlled, both substantively

and ministerially, the submission of pre-auction up-front payments (and later, full license

payments). She directly arranged for the establishment of both the Limited Partnership and the

general partner corporate entities.

   c. Once a decision was made to participate in an auction, and as set forth in more detail in

Section 3, supra, Ms. DiNardo ran and controlled the bidding for all of the Licenses. She

personally participated in each of the many hundreds of rounds of bidding involved in the

process. She participated in determining which markets would be primary bidding targets, and in

negotiating bidding caps for various groups of markets. The final decision on markets that were

the subject of Limited Partnership bids belonged to, and was exercised by, Ms. DiNardo.

   d. After each auction, Ms. DiNardo, again with the assistance of her counsel, was directly

involved with and controlled the process for obtaining Commission approval of the high-bid

applications. She reviewed and approved the long-form (Forms 601 and 602) applications and

their amendments. Through counsel, she negotiated with Commission staff numerous changes to

                                               - 18 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 24 of 151




the organizational and funding documents associated with the licensees. To illustrate, in one

instance the Commission staff requested several dozen minor modifications to the Organizational

Documents set forth in the long form application and Ms. DiNardo determined which changes

could be made that were appropriate and acceptable. Throughout this process, the involvement

of her Limited Partner was primarily limited to understanding the overall magnitude of

Commission staff on requests and signing off only on changes that limited the rights that it had

previously negotiated with Ms. DiNardo.

   e. Both before and after grant of any licenses, Ms. DiNardo undertook myriad

organizational and management tasks, including, but not limited to, the following:

       i.      Ms. DiNardo obtained leased facilities for the Limited Partnerships and

               negotiated the terms of the facility leases;

       ii.     Ms. DiNardo prepared all quarterly and annual budgets for the Limited

               Partnerships;

       iii.    Ms. DiNardo prepared, delivered and processed all capital calls for each of the

               Limited Partnerships; and

       iv.     Ms. DiNardo scheduled, conducted and controlled all meetings of each Limited

               Partnership.

   f. In the case of Barat, Ms. DiNardo surveyed several specialized entities to assist in the

unique spectrum clearing needs for the spectrum at issue. Ultimately, she retained ac-Cellerate,

a consulting firm with no prior business relationship with TDS/USCC. She then worked and is

still working with ac-Cellerate to assure that all necessary clearance activities are being



                                               - 19 -
      Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 25 of 151




undertaken appropriately and in a timely manner. Exhibits I through IX are a sampling of

communications and reports involving ac-Cellerate and Ms. DiNardo.

g.      In the case of Carroll, Ms. DiNardo arranged for some of its spectrum to be leased to

other licensees. Significantly, her counsel was the primary drafter of such leases. Along with

counsel, Ms. DiNardo was primary negotiator for the leases. She was the person who

determined what substantive terms were appropriate and acceptable, whether to lease the

spectrum and who executed the leases. All proceeds from the leases were paid directly to

Carroll, and the funds are being used by Carroll for the benefit of Carroll. Exhibits X and XI are

copies of these leases.

     h. In the case of King Street, Ms. DiNardo, again working with her counsel, retained

engineering consultants of her choosing to undertake an ever-evolving Channel 51 analysis in

order to ascertain and minimize King Street’s interference protection obligations. Significantly,

none of the consultants has any relationship to, nor has done any prior work for, the Limited

Partner.

     i. In the case of Carroll, Ms. DiNardo retained an engineering consultant, whom she used

while managing Amica Wireless, to undertake an analysis of the five-year build out obligations

for the licensee. This consultant has not done prior work for Ms. DiNardo’s Limited Partner, and

the analysis was designed solely to complete construction efficiently and consistent with

applicable Commission rules without any consideration of any individual wants or needs of the

Limited Partner.

     j. On behalf of the Limited Partnerships that she controls, Ms. DiNardo has actively

participated in various Commission rulemaking and adjudicatory proceedings. Exhibits XII –

                                              - 20 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 26 of 151




XVI hereto are copies of rulemaking and ex parte submissions of Ms. DiNardo. Exhibits XVII

and XVIII are copies of an adjudicatory proceeding in which Ms. DiNardo has caused one of her

Limited Partnerships to participate.

   k. Ms. DiNardo has also, working with counsel, overseen and controlled the filing of

numerous reports to the Commission. Exhibits XIX and XX are examples of such reports.

   l. Ms. DiNardo has selected and interfaces almost exclusively with the Limited

Partnerships’ accountants. Ms. DiNardo is also responsible for cash management for the Limited

Partnerships, including the cash generated by the spectrum leases discussed above. She prepares

and maintains all financial statements for each of the Limited Partnerships.

   m. Ms. DiNardo arranges for the preparation and filing of all federal, state and local tax

returns on behalf of each of the Limited Partnerships.

   n. Ms. DiNardo, alone, has controlled all hiring and firing decisions for employees (as well

as contractors) of the Limited Partnerships.

   o. Ms. DiNardo has met with and screened multiple potential venders for several of the

Limited Partnerships.

   p. Ms. DiNardo is a member of the Cellular Telecommunications and Internet Association

(“CTIA”) and is a regular attendee at CTIA Conferences.

   q. Ms. DiNardo has also repeatedly met with Congressional staff and with Commission

“Eighth Floor” staff to provide input and analysis regarding substantive industry activities.

       Given these facts, it is difficult to comprehend how Relator, in good faith, could make the

allegations included in the Complaint. Nevertheless, and recognizing that the above-listing of

Ms. DiNardo’s activities on behalf of the Limited Partnerships has thoroughly debunked the

                                               - 21 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 27 of 151




claim of Relator concerning control of the Limited Partnerships, several further comments are

appropriate.

       First, were the Limited Partnerships to have remained absolutely dormant, which they

have not, no rule or policy would have been violated. After all, the Commission’s rules

prescribe when activity is required: at the five-year mark for Carroll and at the ten-year mark for

Barat and King Street. None of those deadlines has yet arrived, and each of the Limited

Partnerships will be compliant when they do.

       Second, relatively low-key activity is the rule, rather than the exception, for most entities

which acquired licenses in Auction Nos. 58, 66, or 73, particularly smaller ones. A review of the

Commission’s ULS database reveals that, in the case of Auction No. 58 winners, only one-third

of the licensees have reported meeting even their first build-out requirement, i.e. two-thirds have

not completed and reported even preliminary build-out. There is far less discernable build-out

activity for the later auctions, which include the need for spectrum clearing.

       Third, the King Street licenses have not yet been granted, even though they were paid for

in full over one year ago. Moreover, the time upon which 700 MHz licenses have unfettered

access to their spectrum has not yet arrived. Under such circumstances, no meaningful activity

could be expected of any would-be licensee.

       Fourth, in the case of Barat, the federal government has been slow to move off of its

spectrum, with the corresponding effect that use of the spectrum has been delayed considerably

on an industry-wide basis.

       Finally, the interrelated nature of the auctions cannot be ignored. In each instance,

potential bidders understand that they must participate in the auction or risk losing the

                                               - 22 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 28 of 151




opportunity to have access to the spectrum at issue. In addition, they must bid without any clear

knowledge of what additional spectrum will become available in future auctions, or when.

       In the case of the auctions at issue, they transpired in somewhat rapid fire order. Auction

No. 58 was conducted during the first quarter of calendar year 2005; Auction No. 66 was

conducted in the summer of 2006; and Auction No. 73 was conducted in the first quarter of

calendar year 2008. Moreover, the processing of DE applications generally, and the Limited

Partnerships’ applications specifically, was lengthy. The Carroll applications were not granted

until eleven months after the auction close. The Barat applications were not granted until almost

eight months after auction close. The King Street applications have still not been granted. With

respect to the Limited Partnerships, no sooner were applications granted than preparation for the

next auction had to commence in earnest.

       There is one final, very important factor that argues against quicker build-out of

spectrum. Unless and until licensees have a reasonable understanding of what spectrum they

ultimately will have to work with, it is simply not possible for them to know how to deploy

spectrum already licensed to them most efficiently. For example, if a licensee holds PCS

(Carroll) and AWS (Barat) spectrum and may come to hold 700 MHz (King Street) spectrum,

before implementing either PCS or AWS spectrum it must keep in mind that the 700 MHz

spectrum that it may obtain will be approximately four times as cost-efficient to build in a green

field context and, due to vastly superior propagation and penetration characteristics, may well be

deployable much more quickly, even with later license issuance dates. Moreover, given the

vagaries and lack of certainty of when federal agencies will vacate AWS spectrum, it is

impossible to plan reliably or implement systems using the spectrum at issue.

                                               - 23 -
        Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 29 of 151




6.         Relator’s Claim That The Limited Partner’s Debt Should Be Treated As Equity Is
           Absurd

           Relator also claims that any debt of the Limited Partnerships that is owed to the Limited

Partner is the equivalent of equity. It is not apparent whether that accusation reflects Relator’s

confusion regarding the facts, the law or both, but it is clear that the Relator ’s assertion is simply

wrong.

           To begin with, the debt terms of the Limited Partnerships are standard debt terms,

including the interest rate, duration, collateralization, lack of any convertibility option, and other

basic terms. The Commission has repeatedly held that, under such arrangements, debt will be

treated as debt. See, e.g. NextWave Personal Communications, Inc. 12 FCC Rec. 2030 (1997).

Moreover, the credit arrangements involved in the Limited Partnerships have been vetted

thoroughly by the Commission before any license grants. Lastly, even if some portion of the

debt were deemed to be equity, it does not follow that any equity threshold would be violated

here – as the Commission has both approved the arrangements at issue and has pronounced,

without exception, that there are no minimum equity levels for DEs.

7.         The Complaint’s Distortions of The Statements in TDS/USCC’s Public SEC Filings
           Do Not Undermine Ms. DiNardo’s De Facto Control of Each of The Limited
           Partnerships

           Relator incorrectly asserts that various SEC filings by TDS and USCC (annual reports on

Form 10-K, quarterly reports on Form 10-Q and Form 8-K filings) somehow demonstrate that

TDS and USCC intend to take “controlling interests” in the Limited Partnerships.15 The


15
     Complaint, ¶¶ 8, 9.




                                                 - 24 -
        Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 30 of 151




Complaint summarily asserts that TDS and USCC constructed “sham FCC Applicants” as

“general partners” and itself as a “limited partner” to “deceive the FCC.” The Complaint

continues that in contrast, “[t]o the U.S. Securities and Exchange Commission and to investors,

… US Cellular and TDS have made plain the true nature of these relationships.” This is

followed by a series of unrelated quotations from various SEC filings which, out of context,

make reference to TDS or USCC’s business plans regarding the partnership licenses. In a

number of places, the filings note that USCC “consolidates” the Limited Partnerships “for

financial statement purposes, pursuant to the guidelines of FASB Interpretation No. 46R … as

U.S. Cellular anticipates absorbing a majority of … expected gains or losses.”16

           The only sham here is the Relator’s argument. The SEC filings do not establish that

TDS/USCC controls the Limited Partnerships. In all cases, the SEC statements cited in the

Complaint were made with the intention of insuring compliance with FASB Interpretation No.

46, commonly known as FIN 46.17 FIN 46 establishes the term “controlling financial interest,”

(i) based on factors that are distinguishable from the Commission’s standards for de jure or de

facto control, and (ii) applies a new “risk and rewards” model for consolidating interests that

would not be consolidated as controlling interests. Under FIN 46, a filer is deemed to have a

“controlling financial interest” and is required to consolidate the Limited Partnerships with its

financial statements if a two step test is met. First, the filer, in this case TDS/USCC, must

16
     Complaint, ¶ 62.
17
  A predecessor of FIN 46 had been guiding financial statement reporting since 1958. In 2003, however, following
the collapse of Enron, FIN 46 was issued and substantially expanded the circumstances that would require the
consolidation, on the balance sheet of a reporting company (e.g., TDS/USCC), of other entities (e.g., the Limited
Partnerships), even when the reporting company does not control them.



                                                     - 25 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 31 of 151




determine whether TDS or USCC has a financial interest in the Limited Partnerships that

increases and decreases in value according to increases and decreases in the value of the entity's

assets and liabilities, including the Limited Partnerships’ profits and losses, a “variable interest.”

If TDS or USCC has such a variable interest, the filer must next determine if it holds the

majority of the risks and rewards associated with the Limited Partnerships. If it does indeed hold

a majority of the risks and rewards, the filer would be deemed, under FIN 46, to have a

“controlling financial interest” and would be required to consolidate the Limited Partnerships

with its financial statements. The propriety of this analysis and treatment of the interest of

TDS/USCC in the Limited Partnerships is confirmed in the declaration of Douglas Shuma, the

Senior Vice President and Controller of TDS, attached as Exhibit XXII.

       Although financial accounting rules require TDS/USCC to consolidate financial

information of the Limited Partnerships with its financial statements, this does not equate to legal

control, either de facto or de jure. The legal control of Limited Partnerships is determined by its

governing documents and applicable legal authority and not by accounting requirements even

when mandated for SEC filings. In particular, TDS/USCC is not permitted to exercise de jure

or de facto control of the Limited Partnerships under the laws of the State of Delaware or under

Commission’s rules. As demonstrated in this response, it has not done so.

       The Complaint also erroneously asserts that—because TDS/USCC generally

acknowledge that they maintain a business development strategy to purchase controlling interests

in wireless licenses in areas adjacent to, or in proximity to, their other wireless licenses, thereby

building contiguous operating market areas to take advantage of long-term operating synergies—

TDS/USCC must control every partnership in which they acquire an interest, including the

                                                - 26 -
        Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 32 of 151




Limited Partnerships.18 As the Commission must recognize, having a general business plan and

strategy to guide the corporate development strategy of one of the top five wireless service

providers in the United States does not mean that each and every venture in which it engages

will involve acquisition of a controlling interest. In no disclosure cited by the Relator does

TDS/USCC state that it controls any of the Limited Partnerships. In fact, the TDS/USCC

disclosures generally identify the Limited Partnerships as separate and distinct ownership

interests of TDS/USCC spectrum, and do not indiscriminately lump them into the reports of

TDS/USCC spectrum.19

           It is deceptive and disingenuous for the Relator to quote general company policies (which

are consistent with every conclusion regarding the wireless marketplace made by the

Commission since the early 1980s), and take specific comments (including those required by

FIN 46) about the non-controlled Limited Partnerships out of context and then state or imply that

TDS/USCC must currently be controlling those properties or have an agreement in place to

acquire or control them in the future. This simply is not the case. Ms. DiNardo is in control of

that eventuality, just as she controls the Limited Partnerships’ operations today.

           Simply put, TDS/USCC does not have any unilateral right to acquire more than its

limited partnership equity in any of the Limited Partnerships. Moreover, it has no right to

control them. Indeed, TDS/USCC has recognized, that for periods from five to ten years, the

Commission’s rules severely limit the business transactions that TDS/USCC can enter into with

18
     See Complaint, ¶¶ 8, 9.
19
     Thus, as noted in ¶ 8 of the Complaint, TDS separately describes Carroll.



                                                         - 27 -
     Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 33 of 151




the Limited Partnerships, even in the absence of control, without triggering the obligation to

make payments to the government for some or all of the value saved through receipt of the

bidding credits. Instead of participating in the “sham” that is speculatively and irresponsibly

alleged by the Relator, Ms. DiNardo sensibly decided primarily to acquire markets in which her

Limited Partner likely will serve as a strategic partner and potential customer, and to avoid

isolated stand-alone markets that other wireless carriers likely valued more highly than she did,

or where the Limited Partnerships would have suffered significant difficulties in competing

against independent and more geographically strategic wireless providers.

       As discussed above, Ms. DiNardo did exercise the discretion afforded her as the president

and sole shareholder of the controlling general partner, and acquired markets that TDS/USCC, if

left to bid on its own, would likely not have acquired even though some portion of the market

was proximate to a TDS/USCC market. Where Ms. DiNardo exercised such control on such an

important matter as the purchase of a license, it can hardly be concluded that there is any

legitimate question of fact concerning her control of the day-to-day operations of the Limited

Partnerships, especially given the thorough range of her activities on behalf of the applicants and

the Limited Partnerships.




                                               - 28 -
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 34 of 151
          Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 35 of 151




                                     EXHIBITS TO RESPONSE

     I.    Non-Disclosure Agreement, Barat and ac-Cellerate (undated)

    II.    Pricing for Barat Wireless, January 7, 2008

   III.    Non-Disclosure Agreement, Barat and DOJ, May 21, 2008

   IV.     Consulting Agreement, Barat and ac-Cellerate, May, 30, 2008

   V.      Memorandum from DOJ re: Barat Wireless, June 12, 2008

   VI.     Barat Wireless – Initial Interference Assessment, July 16, 2008

  VII.     Consulting Agreement, Barat and ac-Cellerate, July 18, 2008

 VIII.     Barat Wireless – Initial Interference Assessment, August 18, 2008

   IX.     Barat Wireless – Initial Interference Assessment, October 31, 2008

   X.      Spectrum Lease dated July 1, 2008 entered into by and between Carroll and New
           Cingular Wireless PCS, LLC

   XI.     Spectrum Lease dated March 27, 2009 entered into by and between Carroll and
           Oklahoma Independent RSA 5 Partnership

  XII.     Carroll Comments of February 24, 2006 in WT Docket No. 05-211

 XIII.     DiNardo Comments of November 3, 2008 in WT Docket No. 06-150, etc.

 XIV.      Barat and Carroll ex parte filing of June 28, 2007 in CC Docket No. 94-102, etc.

  XV.      Barat and Carroll ex parte filing of July 24, 2007 in PS Docket No. 06-229, etc.

 XVI.      DiNardo ex parte Comments of June 28, 2007 in WT Docket No. 03-264

XVII.      Response to Submissions of Ameer Flippen, dated April 11, 2005

XVIII.     Amici Brief in Case No. 06-2943 (Council Tree Appeal) in Support of the Federal
           Communications Commission, Oct 20, 2006

 XIX.      Annual DE Report for Barat, dated April 29, 2009

                                                 - 30 -
        Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 36 of 151




 XX.     Annual DE Report for Carroll, dated January 9, 2009

XXI.     Declaration of Allison Cryor DiNardo

XXII.    Declaration of Douglas Shuma




                                                - 31 -
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 37 of 151




                                                         EXHIBIT I




            Non Disclosure Agreement, Barat
              and ac-Cellerate (undated)
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 38 of 151




                                                        EXHIBIT II




      Pricing for Barat Wireless, January 7, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 39 of 151




                                                       EXHIBIT III




                Non-Disclosure Agreement,
               Barat and DOJ, May 21, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 40 of 151




                                                       EXHIBIT IV




               Consulting Agreement, Barat
              and ac-Cellerate, May, 30, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 41 of 151




                                                        EXHIBIT V




                 Memorandum from DOJ
             re: Barat Wireless, June 12, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 42 of 151




                                                       EXHIBIT VI




           Barat Wireless – Initial Interference
               Assessment, July 16, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 43 of 151




                                                      EXHIBIT VII




               Consulting Agreement, Barat
              and ac-Cellerate, July 18, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 44 of 151




                                                     EXHIBIT VIII




           Barat Wireless – Initial Interference
              Assessment, August 18, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 45 of 151




                                                       EXHIBIT IX




           Barat Wireless – Initial Interference
              Assessment, October 31, 2008
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 46 of 151




                                                        EXHIBIT X




Spectrum Lease dated July 1, 2008 entered into by and
between Carroll and New Cingular Wireless PCS, LLC
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 47 of 151




                                                       EXHIBIT XI




  Spectrum Lease dated March 27, 2009 entered into
       by and between Carroll and Oklahoma
          Independent RSA 5 Partnership
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 48 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 49 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 50 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 51 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 52 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 53 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 54 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 55 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 56 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 57 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 58 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 59 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 60 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 61 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 62 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 63 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 64 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 65 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 66 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 67 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 68 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 69 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 70 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 71 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 72 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 73 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 74 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 75 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 76 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 77 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 78 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 79 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 80 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 81 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 82 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 83 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 84 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 85 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 86 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 87 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 88 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 89 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 90 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 91 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 92 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 93 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 94 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 95 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 96 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 97 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 98 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 99 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 100 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 101 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 102 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 103 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 104 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 105 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 106 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 107 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 108 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 109 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 110 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 111 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 112 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 113 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 114 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 115 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 116 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 117 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 118 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 119 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 120 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 121 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 122 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 123 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 124 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 125 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 126 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 127 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 128 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 129 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 130 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 131 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 132 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 133 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 134 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 135 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 136 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 137 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 138 of 151




                DECLARATION OF ALLISON CRYOR DINARDO

       Allison Cryor DiNardo declares under penalty of perjury that the following facts

are true to the best of her knowledge and belief:

       1. I am the president and sole shareholder of King Street Wireless, Inc., the

general partner of King Street Wireless, L.P. (“King Street”). I am also the president and

sole shareholder of Barat Wireless, Inc., the general partner of Barat Wireless, L.P.

(“Barat”), and of Carroll PCS, Inc, the general partner of Carroll Wireless, L.P.

(“Carroll” and together with Barat and King Street, the “Limited Partnerships”). The

sole limited partner of each of the Limited Partnerships is USCC Wireless Investment,

Inc. (“USCCWII”), a subsidiary of United States Cellular Corporation (“USCC”), which

in turn is an affiliate of Telephone and Data Systems, Inc. (“TDS” and together with

USCCWII and USCC, “TDS/USCC”).

       2. I graduated in 1988 from the Darden Graduate School of Business at the

University of Virginia, where I was inducted into the Raven Society in recognition of my

academic achievement and leadership. After graduation, I worked as Deputy Associate

Director for Presidential Personnel in the White House. Subsequently, I created and

implemented a $165,000,000 capital campaign at the University of Virginia in

Charlottesville. In 1998, I returned to Washington, D.C. to serve as Vice President for

Development for Citizens for a Sound Economy, a nonprofit organization, where I

managed a team of eight employees and an annual capital campaign that raised

$18,000,000 annually.
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 139 of 151




       3. One of my fellow students in business school was Mark Kington, who hired

me as the President and Chief Operating Officer of Kington Management Corporation

(“Kington Management”). In that capacity, I was in charge of hiring and managing staff,

financial reporting, managing budgets, hiring and training accountants and interfacing

with tax professionals and various legal counsel. My tasks included management of a

family office, a commercial farm, a multi-million dollar family foundation and Mark

Kington’s wireless interests. Through this job at Kington Management, I became quite

familiar with the wireless industry.

       4. Beginning in 2000, I managed the operations for the general partner and later

entities of Black Crow Wireless, L.P. (“Black Crow”): Eastern Shore Wireless Company,

LLC (“Eastern Shore”), Jackson Square Wireless, L.P. (“Jackson Square”), K-25

Wireless, L.P. (“K-25”), X-10 Wireless, L.P. (“X-10”) and Y-12 Wireless, L.P. (“Y-12”).

In these businesses, I oversaw system purchases, federal, state and local filings, market

build-out, site leasing, interconnection and backhaul arrangements and overall system

management. I also played a key role for Black Crow in Auction No. 35. I was directly

involved in bidding strategy, market selection, office acquisition, bidding mechanics,

technology utilization and financial management activities.

        5. At the conclusion of Auction No. 35, I worked with investment banks in an

effort to borrow some of the funds to pay for the licenses won by Black Crow. As with

other wireless properties managed by Kington Management, my responsibilities involved

overseeing purchases and building out markets, including the review of tower site leases,

securing T-1 lines, and the oversight of the engineering bid process. I was also

responsible for the management of additional wireless properties controlled by Mark




                                             2
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 140 of 151




Kington, which were acquired from other designated entities (“DEs”) including wireless

properties acquired and operated by Jackson Square, K-25, X-10 and Y-12. For each of

these DE licensees, Mark Kington’s corporations served as the general partner and

USCCWII served as the limited partner.

       6. Through my management of these wireless entities, I gained valuable

operational experience in the wireless industry. I learned about the issues encountered in

the successful rapid build-out of wireless operations with K-25, which purchased wireless

interests with just under three months left to meet Federal Communications Commission

(“Commission”) build-out deadlines. I also obtained direct operational experience

associated with the wireless purchase by Y-12 of a wireless carrier with approximately

8,500 wireless subscribers, which operated under the name Amica Wireless. In

connection with Y-12, I was involved in arranging for the building of new cell sites,

changing the cash management system, revamping customer service, training staff,

reorganizing its four stores, cutting expenses and changing senior management. Under

my leadership, Y-12 experienced a twenty percent increase in its customer base and an

increase in net operating profits.

       7. My involvement in Black Crow, Jackson Square, K-25, X-10 and Y-12

provided TDS/USCC with an opportunity to observe my abilities and skills since they

invested in each of these projects. Additionally, through the operation of these

businesses, I developed a trusting and respectful relationship with the TDS/USCC

personnel, with whom I dealt.

       8. As a result of these experiences, I decided that I wanted to lead my own

company to develop and operate wireless businesses, despite the inherent financial risks




                                             3
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 141 of 151




that were involved. Consequently, I decided to pursue the opportunities presented by the

DE program. In the fall of 2004, I approached TDS/USCC about forming a limited

partnership to participate in Auction No. 58. I thought that TDS/USCC would be a good

partner in the wireless business, and hoped my respect was reciprocated. I had gotten to

know many employees at TDS/USCC at various levels and was comfortable with their

business practices. They also knew me.

       9. In each of the three Limited Partnerships – Carroll, Barat and King Street – my

initial equity contribution was at least $100,000. The money came from my husband, a

career analyst with the Federal Bureau of Investigations, and me. Some of it was

borrowed by us from family members. None of it came from TDS, USCC, USCCWII or

any of their affiliates. Additionally, none of my initial contributions have been repaid by

any of those entities or related sources in any manner, and there are no plans for such

repayment (except as set forth in the organizational documents of the Limited

Partnerships that were reviewed by the staff of the Commission before the grant of their

applications).

       10. Before participating in each auction, I attended seminars sponsored by the

Commission to review its procedures and filing forms that would be required for

participation. Each pre-auction seminar was conducted at Commission headquarters

several months before each auction to introduce potential participants to the auction rules

and process. The bidding software was demonstrated and participants had the

opportunity to ask questions. I also participated in every mock auction held for Auction




                                             4
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 142 of 151




        Nos. 58, 66 and 73 from my office, testing both the computer bidding and the

telephonic bidding. I retained Rebecca Kilduff, CEO of the marketing and internet

consulting firm of Madison Kilduff, to serve as my alternate bidder and she participated

in the mock process as well.

        11. In planning for Carroll and its participation in Auction No. 58, my strategy

was informed predominantly by my prior experiences at Kington Management, not by the

direction of TDS/USCC. I was aware that there would be licenses available in Auction

No. 58 that had been available and of interest to Black Crow in Auction No. 35, as a

result of the licenses that had been at issue in the NextWave litigation. I intended to

avoid bidding on very small markets located in isolated regions, as a result of the

difficulties I encountered in formulating and executing a business plan for the operations

of Eastern Shore, located in Salisbury, Maryland, while at Kington Management. I

wanted to purchase spectrum beneficial to the Limited Partnerships which offered

multiple alternative business opportunities for the Limited Partnerships.

        12. Before each auction, I established a bidding room in my business office in

Alexandria. TDS/USCC personnel assigned to me assisted me and my staff in final

preparation of the office for the auction. My office and TDS/USCC’s office in Chicago

had extensive computer facilities to process and analyze the information from each round

of bidding. My office in Alexandria was the only one through which bids were or could

be entered, and was the only site to which round results in Auction 73 were available

directly to the bidder. I had complete control over the Alexandria site and the distribution

of information at that site.




                                             5
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 143 of 151




       13. The information received from the Commission during the auctions was

extensive and complex. Processing this information quickly between auction rounds

required the development of reporting tools that would gather and display relevant

information. I was directly and intimately involved in the planning of the reports before

the auctions began. I personally designed and directed a number of changes to the

reporting tools and other bidding materials that were used at the auctions.

       14. Before each auction, a Bidding Protocol Agreement (“Bidding Protocol”) was

negotiated between the general partner and the limited partner (USCCWII) of each

Limited Partnership. Each Bidding Protocol (as well as all later amendments to the

Bidding Protocol) was provided to the Commission staff before the grant of the

respective licenses to the Limited Partnerships for their winning bids.

       15. Each Bidding Protocol specified a Bidding Council headed up by me, as

manager, and a TDS/USCC representative, as the other member. At my discretion, I was

authorized to submit successively higher bids for any area designated in the Bidding

Protocol as long as the bid did not exceed either the Maximum Price per Pop or the

Overall Bidding Cap specified in the Bidding Protocol. Thus, I had the absolute

discretion not to bid on any market in the Bidding Protocol, and had absolute, unfettered

discretion to place any bid I chose as long as I did not exceed either the Maximum Price

per Pop or the Overall Bidding Cap.

       16. My alternate or I participated personally and directly in every round of every

auction. The auction process required each Limited Partnership, like any other bidder, to

digest and analyze large quantities of information and to respond with new bids on an

increasingly frequent basis. While I controlled and led the bidding activity, TDS/USCC




                                             6
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 144 of 151




representatives participated in the auctions in a supportive and collegial but advisory role.

I wanted to bid on markets that reflected a consensus view and of what was best for the

Limited Partnership involved. I had considerable discretion under the Bidding Protocol

in each auction to deploy the Limited Partnership’s capital. I alone had final decision-

making authority for each and every bid cast or not cast. While in many instances the

licenses acquired through the auctions complement the markets served by USCC, they

also serve the business interests of the Limited Partnership involved and ultimately reflect

my business judgment, and not necessarily the judgment that TDS/USCC would have

exercised independently.


       17. I had my own ideas concerning which markets would serve the Limited

Partnerships’ interests. One example is the Mississippi Valley REAG, which was

acquired during Auction No. 66. Although a small portion of this acquisition abutted

USCC’s spectrum in St. Louis, it also contained a very large area to the southeast of St.

Louis, including large parts of Mississippi and Louisiana, encompassing New Orleans.

Most of the geographic area acquired through this license was not currently served by

USCC and was well beyond both its geographic footprint and its immediate or

foreseeable needs. This license was acquired because I believed strongly that its

acquisition could be made at a good price and that over time there was a substantial

opportunity to expand competitive service into this urban area.

       18. In Auction No. 58, I believed that the Greensboro, Asheville and Hickory and

North Carolina licenses could be acquired at an attractive price and would supplement the

Charlotte license for which we were already a high bidder at a low price and could prove

to be valuable as a contiguous group over time. In Charlotte and Greensboro, there is



                                             7
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 145 of 151




very significant competition and building in these markets will be expensive, but I

believed then and believe now that it is a good investment for the Limited Partnership.

Despite some reservations held by TDS/USCC’s representatives, I exercised my

prerogative to make winning bids in these markets.

       19. My work on behalf of the Limited Partnerships encompasses much more than

just the bidding, as complex as that task is. With the assistance of my counsel, I ran and

controlled the first phase of the auction application process, from start to finish. I was

directly involved in the filing of the short-form applications, reviewing and approving

each one prior to submission. I was equally involved in the amendments to the

applications that the staff requested. I controlled, both substantively and ministerially,

the submission of pre-auction up-front payments and later, full license payments. I also

directly arranged for the establishment of the Limited Partnerships and the general

partner corporate entities.

       20. After each auction, again with the assistance of my counsel, I was directly

involved with and controlled the process for obtaining Commission approval of the high-

bid applications. I reviewed and approved the long-form applications and their

amendments. Through counsel, I negotiated with Commission staff on numerous

changes to the organizational and funding documents associated with the licensees. To

illustrate, in one instance the Commission staff requested several dozen minor

modifications to the organizational documents set forth in the long form application, and

I determined which changes were appropriate and acceptable and could be made.

Throughout this process, the involvement of USCCWII was primarily limited to




                                              8
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 146 of 151




understanding the Commission staff requests and signing off only on changes that limited

the rights that had been previously negotiated.

       21. Both before and after grant of any licenses, I undertook myriad organizational

and management tasks. I directly arranged for the creation of the necessary legal entities,

obtained leased facilities for the Limited Partnerships and negotiated the terms of the

leases, prepared all quarterly and annual budgets for the Limited Partnerships, prepared,

delivered and processed all capital calls for each of the Limited Partnerships and

scheduled, conducted and controlled all meetings of each Limited Partnership. In the

case of Barat, I surveyed several specialized entities to assist in the unique spectrum

clearing needs for the spectrum at issue. Ultimately, I decided to retain ac-Cellerate, a

consulting firm with no prior business relationship with USCC. I am still working with

ac-Cellerate to assure that all necessary clearance activities are being undertaken

appropriately and in a timely manner.

       22. In the case of Carroll, I arranged for some of its licensed spectrum to be

leased to other licensees. Along with Carroll’s counsel, I was the primary negotiator for

the leases. I determined what substantive terms were appropriate and acceptable, whether

to lease the spectrum, and whether to execute the leases. All proceeds from the leases

were paid directly to Carroll, and the funds are being used for the benefit of that Limited

Partnership. I also retained an engineering consultant, whom I had used while managing

Amica Wireless, to undertake an analysis of the five-year build out obligations for

Carroll. This consultant has not done prior work for USCCWII or its affiliates; the

analysis is designed solely to complete construction efficiently and consistent with




                                             9
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 147 of 151




applicable Commission rules, without any consideration of any individual wants or needs

of the Limited Partner.

        23. In the case of King Street, again working with my counsel, I chose and

retained engineering consultants to undertake an ever-evolving Channel 51 analysis to

ascertain and minimize King Street’s interference protection obligations. Significantly,

none of the consultants has any relationship to, or has done any prior work for, USCCWII

or its affiliates.

        24. On behalf of the various partnerships that I control, I have participated in

various Commission rulemaking and adjudicatory proceedings. I have also, working

with counsel, overseen and controlled the filing of numerous reports to the Commission.

I also selected, and interfaced almost exclusively with, the Limited Partnerships’

accountants. I am responsible for cash management for the Limited Partnerships,

including the sizable cash balances associated with the spectrum leases discussed above.

I prepare and maintain all financial statements for each of the Limited Partnerships and

arrange for the preparation and filing of all federal, state and local tax returns on behalf of

each of the Limited Partnerships. I alone control all hiring and firing decisions for

employees as well as contractors of the Limited Partnerships. I have also met and

screened multiple potential venders for various of the Limited Partnerships.

        25. I am a member of the Cellular Telecommunications and Internet Association

(“CTIA”) and a regular attendee at CTIA conferences. This has provided valuable

information regarding emerging and changing issues facing the wireless industry. I have

also met with Congressional staff and with Commission “Eighth Floor” staff to provide

input and analysis regarding substantive industry activities. In my view, these activities




                                              10
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 148 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 149 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 150 of 151
Case 1:20-cv-02070-TSC Document 178-14 Filed 06/13/22 Page 151 of 151
